                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                                  No. 5:20-CV-499-BO


CHANIELLE L. WOODFORD,                                )
                                                      )
       Plaintiff,                                     )
                                                      )
V.                                                    )                      ORD E R
                                                      )
MERRICK B. GARLAND, ET AL.,                           )
                                                      )
       Defendants.                                    )



       This cause comes before the Court on defendants ' motion for summary judgment. [DE 70].

The matter has been fully briefed. A hearing on defendants ' motion was held before the

undersigned on September 25, 2024, at Raleigh, North Carolina. [DE 89]. In this posture, the

matter is ripe for disposition. For the reasons discussed below, defendant' s motion for summary

judgment [DE 70] is DENIED.

                                         BACKGROUND

       In August 2009, plaintiff began working as a Corrections Officer for the Bureau of Prisons

("BOP"). [DE 52, 71] . It is undisputed that in early 2014, plaintiff transferred to the Federal

Correctional Institution II in Butner, North Carolina ("FCI Butner II"). [DE 72, 82]. It is also

undisputed that when plaintiff transferred to FCI Butner II, Captain Reginald White served as

plaintiffs supervisor. [DE 72, 82].

       Plaintiff contends that in the spring of 2016, "Captain Reginald White, . .. sexually

assaulted her and started sexually harassing her." [DE 52, 81 at 3]. The initial incident occurred in

the staff lounge at FCI Butner II. [DE 81]. Plaintiff alleges that when she entered the lounge,



        Case 5:20-cv-00499-BO           Document 90        Filed 11/01/24      Page 1 of 7
"Captain Wright walked in, grabbed her, pinned her against the wall" and assaulted her by

"grabbing her breasts and between her legs, and trying to kiss her." [DE 81]. Plaintiff contends

that the sexual harassment and abuse continued over the following years and culminated in the

summer of 2018. [DE 81] . During that time, Captain Wright attempted to pull plaintiff into his

office. [DE 81]. Plaintiff asserts that during this incident, she "fought back and yelled at [Captain

Wright] to stop." [DE 81]. And although the threat from Captain Wright ceased following this

confrontation, plaintiff contends that a new threat ensued when Lieutenants close to Captain

Wright began to harass plaintiff. [DE 81]. According to plaintiff, these incidents of harassment

included "downgrad[ing] her evaluations," "admonish[ing] her for an outfit she was wearing," and

"improperly remov[ing]" plaintiff from her assignment. [DE 81 at 4].

       Plaintiff contends that the harassment peaked in February 2019 when, after undisputedly

being late to work on two occasions, plaintiff was "referred for discipline." [DE 81 at 4, 82]. On

February 12, 2019, plaintiff"contacted the EEO Office" to file a complaint regarding the series of

events at FCI Butner II. [DE 81]. However, plaintiff alleges that Captain Wright talked her out of

filing any charges. [DE 81]. Thereafter, plaintiff contends that the retaliation and harassment

against her only increased. [DE 81]. Specifically, plaintiff contends that a Lieutenant

"discipline[d]" her for "refus[ing] to work overtime" and "referred her to internal affairs." [DE

81].

       It is undisputed that in April 2019, plaintiff submitted a formal Charge of Discrimination

with the EEO office. [DE 82]. Plaintiff alleges that she did not include the sexual harassment

allegations in this claim out of "fear of increased harassment and retaliation, and fear for her job."

[DE 81] . Plaintiff contends that she continued to amend her EEO complaint over the following

months. [DE 81].



                                              2
        Case 5:20-cv-00499-BO           Document 90        Filed 11/01/24      Page 2 of 7
       Plaintiff further alleges that in late spring 2019, she submitted an FMLA request in which

she informed the BOP that "due to a serious health condition, she could only work 8 hours a day."

[DE 81]. It is undisputed that plaintiffs FMLA request was approved in June 2019. [DE 72, 82].

Nonetheless, plaintiff contends that her supervisor, Captain Wright and Lieutenant Miller,

continued to assign her to overtime shifts, and "then referred her for discipline[] when she refused

to" work overtime. [DE 81].

       It is undisputed that in October 2019, plaintiff made her first written complaint to BOP in

which she alleged claims of sexual assault. [DE 72, 82]. It is further undisputed that in October

2019, following plaintiffs lodging of the sexual assault claims, plaintiff was temporarily

transferred to FCI Butner I. [DE 82]. It is also undisputed that plaintiffs transfer to FCI Butner I

became permanent in April 2020. [DE 72, 82]. However, plaintiff contends that the harassment

against her continued both before and after she transferred to FCI Butner I. [DE 81]. In support of

her claim, plaintiff alleges various multi-day suspensions, and instances of failure to promote. [DE

81]. It is undisputed that plaintiff was, however, ultimately promoted in July 2022. [DE 72, 82].

       In September 2020, following the exhaustion of her administrative remedies, plaintiff filed

the instant action. [DE 1]. In April 2023 , plaintiff filed an amended complaint alleging that

defendants committed adverse actions against plaintiff in retaliation for plaintiffs formal and

informal complaints in which she alleges sexual harassment and abuse in the workplace. [DE 52].

Following the discovery period, defendant moved for summary judgment. [DE 70]. Plaintiff

responded in opposition. [DE 81].

                                          DISCUSSION

        A motion for summary judgment may not be granted unless there are no genuine issues of

material fact and the movant is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a). The



        Case 5:20-cv-00499-BO                3 90
                                       Document           Filed 11/01/24      Page 3 of 7
moving party bears the initial burden of demonstrating the absence of a genuine issue of material

fact. Celotex Corp. v. Catrett, 477 U.S. 317,323 (1986). If that burden has been met, the non-

moving party must then come forward and establish the specific material facts in dispute to survive

summary judgment. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587-

88 (1986). In determining whether a genuine issue of material fact exists, a court must view the

evidence and inferences in the light most favorable to the nonmoving party. Scott v. Harris, 550

U.S. 372, 378 (2007). However, "[t]he mere existence of a scintilla of evidence" in support of the

nonmoving party' s position is not sufficient to defeat a motion for summary judgment; "there must

be evidence on which the [fact finder] could reasonably find for the [nonmoving party]." Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986). And "in the face of conflicting evidence, such as

competing affidavits, summary judgment ordinarily is not appropriate, because it is the function

of the fact-finder to resolve factual disputes, including matters of witness credibility." Angelini v.

Bait. Police Dep 't, 464 F. Supp. 3d 756, 776 (D. Md. 2020).

       In her amended complaint, plaintiff asserts only one cause of action: retaliation under Title

VII of the Civil Rights Act of 1964 (42 U.S.C. § 2000 et seq.), as amended. [DE 52]. A plaintiff

may prove retaliation either through direct evidence-the traditional approach-or through the

burden-shifting McDonnell Douglas framework. Laughlin v. Metro. Wash. Airports Auth., 149

F.3d 253, 258 (4th Cir. 1998) (citing McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802-04

(1973)). To establish a Title VII retaliation claim under the McDonnell Douglas framework,

plaintiff must demonstrate that "(l) [s]he engaged in a protected activity; (2) h[er] employer took

adverse action against him, and (3) a causal relationship existed between the two events." Ofoche

v. Apogee Med. Grp., Virginia, P.C., 815 Fed. App'x 690,693 (4th Cir. 2020). See also EEOC v.

Navy Fed. Credit Union, 424 F.3d 397, 405-06 (4th Cir. 2005). " [T]he passage of time alone



                                              4
        Case 5:20-cv-00499-BO           Document 90        Filed 11/01/24       Page 4 of 7
cannot provide proof of causation unless the 'temporal proximity between an employer' s

knowledge of protected activity and an adverse employment action' was 'very close. "' Pascual v.

Lowe 's Home Centers, Inc. , 193 Fed. App 'x 229, 233 (4th Cir. 2006) (quotations omitted). See

Perry v. Kappas, 489 Fed. App 'x 637, 643 (4th Cir. 2012) ("a three-month lapse is too long to

establish causation, without more"). Even if, however, plaintiff establishes a prima facie case of

retaliation, "the burden shifts to the defendant, who is obliged to articulate a legitimate, non-

retaliatory justification for the adverse employment action." Id. at 405 . If defendant does so,

plaintiff must then show by a preponderance of the evidence that those reasons were, in fact,

pretextual. Price v. Thompson, 380 F.3d 209, 212 (4th Cir. 2004).

       Critically, complaining about sexual harassment is considered to be a protected activity.

Kubicko v. Ogden Logistics Servs., 181 F.3d 544, 551-52 (4th Cir. 2015); see also Laughlin v.

Metro. Washington Airports Auth. , 149 F.3d 253, 259 (4th Cir.1998) (protected "activity

encompasses utilizing informal grievance procedures as well as staging informal protests and

voicing one's opinions in order to bring attention to an employer's discriminatory activities"). And

for purposes of their motion, defendants concede that plaintiffs refusal of Captain Wright's

alleged sexual advances constitutes a protected activity. [DE 71 at 13].

       As to the second element, a materially adverse activity, the parties dispute whether some

of the events constitute materially adverse actions. [DE 71 , 82]. To prove an adverse action, "a

plaintiff must show that a reasonable employee would have found the challenged action materially

adverse," meaning it would have "dissuaded a reasonable worker from making or supporting a

charge of discrimination." Burlington N & Santa Fe Ry. v. White , 548 U.S. 53 , 68 (2006) (citations

omitted). Importantly, in the retaliation context, the Supreme Court has defined "materially

adverse" as causing "significant" harm. Muldrow v. City of St. Louis, 144 S. Ct. 967, 976 (2024).



                                             5
        Case 5:20-cv-00499-BO          Document 90        Filed 11/01/24      Page 5 of 7
While defendants nonetheless concede that failure to promote and sustained discipline could

constitute materially adverse actions, defendants further contend that negative performance

evaluations, minor annoyances, snubbing, threat assessments, unsustained investigations, and

improper mandates do not constitute materially adverse actions. [DE 71]. Based on the record

before the Court and the arguments at the September 25, 2024, hearing, the Court concludes that

there is a genuine issue of material fact as to whether each of the proposed events constitutes a

materially adverse action in that plaintiff would have been "dissuaded . . . from making or

supporting a charge of discrimination." White, 548 U.S. at 68 (2006). [DE 71, 81].

       Turning to causation. In defendants' request for summary judgment, they contend that

plaintiff cannot prove a causal link between the protected activity and a materially adverse action.

[DE 71]. The Court disagrees and concludes that based on the evidence, there remains a genuine

issue of material fact as to whether there is a causal nexus between plaintiffs undisputed protected

activity and the alleged retaliation. [DE 71]. "Fourth Circuit precedent addressing the causation

prong of a prima facie case of retaliation requires that a plaintiff demonstrate that the

decisionmaker imposing the adverse action have actual knowledge of the protected activity."

Roberts v. Glenn Indus. Grp., Inc., 998 F.3d 111, 125 (4th Cir. 2021). Here, based on the timeline

of events and various internal investigations, the Court concludes that there is a genuine issue of

material fact as to whether many of the decision makers behind the adverse actions were aware of

plaintiffs engagement in a protected activity.

       In addition, assuming plaintiff establishes a prima facie case, the Court further finds that

there are genuine issues of material fact as to whether plaintiff can overcome defendant's proposed

legitimate, non-retaliatory reason for its adverse actions. For example, while defendant contends

that plaintiffs employment record constituted the grounds for not promoting plaintiff, [DE 71],



        Case 5:20-cv-00499-BO                6 90
                                       Document           Filed 11/01/24      Page 6 of 7
the parties also explained at the September 25, 2024, hearing that the decision not to promote

plaintiff was allegedly made by two Wardens who were aware of plaintiff's engagement in a

protected activity; Warden Andrews, an employee who knew that plaintiff had engaged in

protected activity, and Warden Lou, an employee who had disciplined plaintiff for seeking EEO

assistance in the first instance. [DE 89]. Because the Court is faced with "conflicting evidence," it

concludes that summary judgment is inappropriate at this stage of the proceedings. Angelini, 464

F.Supp.3d at 776.

       In sum, there still remains a genuine issue of material fact as to whether plaintiff has

established her prima facie case for retaliation, along with whether defendant had a legitimate,

non-retaliatory reason for taking adverse action against plaintiff. Thus, defendant is not entitled to

summary judgment at this stage of the proceedings, and the motion must be denied.

                                          CONCLUSION

       For the above reasons, defendant' s motion for summary judgment [DE 70] is DENIED.

For those reasons outlined in [DE 87], namely that the documents the parties seek to seal contain

personnel, investigative, and medical records, and as the public has had an opportunity to object

and no objections have been filed, the motions to seal [DE 80 & DE 87] are GRANTED. However,

the parties shall meet and confer regarding necessary redactions to their memorandums in support

of or opposition to summary judgment, and file such redacted versions not later than November

25, 2024. Finally, the clerk is DIRECTED to refer this case for the scheduling of a pretrial

conference.

SO ORDERED, this     Jj_ day of October 2024.

                                              TE   NCE W. BOYLE
                                              UNITED STATES DISTRIC


                                                 7
        Case 5:20-cv-00499-BO           Document 90        Filed 11/01/24      Page 7 of 7
